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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
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        JOSE ANTONIO AGUILAR RAMOS,                    Case No.: CV 20-10440-DMG (AGRx)
   11   an individual, and MARIBEL RAMOS,
        an individual,
   12                                                  ORDER OF DISMISSAL [24]
                     Plaintiffs,
   13
              vs.
   14
        FCA US LLC, a Delaware Limited
   15   Liability Company, and DOES 1 through
        10, inclusive,
   16
                     Defendant.
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   19         Based on the parties’ stipulation, and good cause appearing therefor, the
   20   stipulation is APPROVED. The above-captioned action, including all claims and
   21   counterclaims stated herein against all parties, is dismissed with prejudice, in its
   22   entirety, each side to bear its own costs and attorney’s fees.
   23   IT IS SO ORDERED.
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   25   DATED: October 15, 2021                 _____________________________
   26                                           DOLLY M. GEE
                                                UNITED STATES DISTRICT JUDGE
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